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 1   SIGAL CHATTAH, ESQ.
     NV Bar No.: 8264
 2   CHATTAH LAW GROUP
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 3   Las Vegas, Nevada 89118
     (702) 360-6200
 4   (702) 643-6292
     Chattahlaw@gmail.com
 5   Attorney for Plaintiffs
 6
                                UNITED STATES DISTRICT COURT
 7
                                        DISTRICT OF NEVADA
 8

 9
                                                         )
                                                         )
10
     KASHYAP P. PATEL, individually and on behalf of the )
11   KASH FOUNDATION, INC., the KASH FOUNDATION, )
     INC. an Idaho Corporation.                          )
                                                         )            Case No. 2:23-cv-00873
12
                                                         )
                   Plaintiffs,
                                                         )            DEFAULT
13   v.                                                  )
                                                         )            LR 77-1(b)(2)
14   JIM STEWARTSON, an individual,                      )
                                                         )
15
                  Defendant.                             )
                                                         )
16
                                                         )
                                                         )
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19
                                                DEFAULT

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            It appearing from the records in the above-entitled action that Summons issued on the

21   Complaint dated June 5, 2023, has been regularly served upon each of the Defendants hereinafter

22   named; and it appearing from the Affidavit of counsel the records herein that each of said

23   Defendants has failed to plead or otherwise defend in said action as required by said Summons
24   and provided by the Federal Rules of Civil Procedure, Now, therefore, on request of counsel for
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 1   Plaintiff, the DEFAULT, as aforesaid, of each of the following Defendants in the above-entitled
 2   action is hereby entered.
 3

 4
                                                         DEBRA K. KEMPI, CLERK
 5

 6                                                       _____________________________
                                                         By: Deputy Clerk
 7
      Dated this 31st day of October, 2023.
 8

 9                                                   Respectfully submitted:
10
                                                                CHATTAH LAW GROUP
11

12                                                             /S/ Sigal Chattah
                                                               SIGAL CHATTAH, ESQ.
13                                                             Nevada Bar No.: 8264
                                                               CHATTAH LAW GROUP
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                                                               Las Vegas, Nevada 89118
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                                                               Attorney for Plaintiffs
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